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 5
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 6   Livingly Media, Inc.
 7
                                         UNITED STATES DISTRICT COURT
 8
                                       CENTRAL DISTRICT OF CALIFORNIA
 9

10   MICHAEL GRECCO PRODUCTIONS, )                        Case No.: 2:20-c-00151 DSF-PJW
     INC. d/b/a “Michael Grecco              )
11   Photography,” a California corporation, )
                                             )            NOTICE OF MOTION AND
12               Plaintiff,                  )            MOTION OF LIVINGLY MEDIA,
                                             )            INC. FOR SUMMARY
13         v.                                )            JUDGMENT
                                             )
14   LIVINGLY MEDIA, INC., a Delaware )                   Hearing:
     Corporation; and DOES 1-10,             )            Date: April 5, 2021
15                                           )            Time: 1:30 pm
                 Defendants.                 )            Court: [Zoom Webinar]
16                                           )            Judge: The Hon. Dale S. Fischer
                                             )
17                                           )            Filed with Application for Leave to
                                             )            File Under Seal (Local Rule 79-
18                                           )            5(b)]
                                             )            Memorandum of Points and
19                                           )            Authorities
                                             )            Separate Statement
20                                           )            Declaration of Joshua Koltun
                                             )
21                                           )            Filed Herewith (Public File):
                                             )
22                                           )            Declarations of Richard Licata,
                                             )            Erica Carter, Deena Shinn, Cecily
23                                           )            Trowbridge, Lani Conway, Areeba
                                             )            Abid, and Kimia Midani
24                                           )            [Proposed] Order
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     Livingly Motion for Summary Judgment [MPA omitted]                           2:20-cv-00151 DSF-PJW
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                                                                  NOTICE OF MOTION AND MOTION
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                          2            PLEASE TAKE NOTICE THAT on April 5, 2021, or such later date as the
                          3   Court may set, at 1:30 pm, before the Honorable Dale S. Fischer, via Zoom Webinar as
                          4   set forth on the Court’s website at http://www.cacd.uscourts.gov/honorable-dale-s-
                          5   fischer, Defendant and Counterclaimant Livingly Media Inc., (“Livingly”) will and
                          6   hereby does move under Federal Rule of Civil Procedure 56 for an order granting
                          7   summary judgment to Livingly and against Plaintiff and Counterdefendant Michael
                          8   Grecco Productions, Inc., (“Grecco”) or, in the alternative, partial summary judgment
                          9   that that Grecco is entitled only to the statutory damages for innocent infringement, and
                         10   in that case only as to Photographs 2 and 4.
                         11            This motion is made on the grounds that there are no genuine issues of fact, and
                         12   that Defendant is entitled to judgment (or partial judgment) as a matter of law, because
                         13   (a) the photographs at issue were promotional photographs, licensed to the media for
                         14   use in editorial commentary on the underlying television shows, and that Livingly’s use
                         15   was within the scope of that license; (b) that if Livingly’s use of the photographs were
                         16   not licensed it was fair use; (c) that the statue of limitations has run as to Photographs 1
                         17   and 3, and that (d) assuming arguendo that Livingly were liable, any infringement was
                         18   innocent and that Grecco as a consequence is entitled only to minimal statutory
                         19   damages.
                         20            This motion is based on this notice of motion and motion, the following
                         21   memorandum of points and authorities, the supporting declarations of Joshua Koltun,
                         22   Richard Licata, such matters of which the Court may take judicial notice, and other
                         23   documents and pleadings on file in this matter and any further arguments that may be
Joshua Koltun ATTORNEY




                         24   made at a hearing on this motion.
                         25            /
                         26            /
                         27            /
                         28            /

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                              Livingly Motion for Summary Judgment [MPA omitted]                        2:20-cv-00151 DSF-PJW
                         Case 2:20-cv-00151-DSF-JC Document 34 Filed 03/01/21 Page 3 of 3 Page ID #:180




                          1            [Because the (i) Memorandum of Points and Authorities, the (ii) Separate
                          2   Statement, and (iii) the Declaration of Joshua Koltun attach and make reference to
                          3   materials that plaintiff and/or third parties contend should be filed under seal, Livingly
                          4   has submitted an Application for Leave to File Under Seal, pursuant to Local Rule 79-
                          5   5(b), and will file such documents or redacted versions thereof, under seal or in this
                          6   Court’s public docket, as further directed by the Court.]
                          7            Respectfully submitted,
                          8
                              Dated: March 1, 2021                                 _____\s\________________
                          9                                                             Joshua Koltun
                                                                                        Attorney for Defendant
                         10                                                             and Counterclaimant
                                                                                        Livingly Media, Inc.
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Joshua Koltun ATTORNEY




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                              Livingly Motion for Summary Judgment [MPA omitted]                                 2:20-cv-00151 DSF-PJW
